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                           IN TH E UN ITED STATES DISTRICT C OURT
                          FOR TH E SO UTH ERN DISTRICT O F FLORIDA

                            CaseN0.10-CV-80737-H IJR1,EY/IIO PK IN S
       (Consolidatedwith CaseN0.10-CV-80738-1Rm I,EY/HOPKINSfortheReceivership)
    UNITED STATES SECUM TIES AND
    EXCH AN GE COM M ISSION ,
    Plaintiff,



     TRAD E-LLC,eta1.,
     Defendants,



     BD LLC,eta1.,
     RtliefD efendants.
                                                 /

     COM M ODITY FUTURES TRADING
     COM M ISSION ,
     Plaintiff,



     TRA DE-LLC,eta1,,
     D efendants,

     BD LLC,etal.,
     ReliefDefendants.
                                                 /

                              ORDER GRANTING FOURTH & FINAL
                           APPLIC ATION FOR ALLOW A NC E O F
                   CO M PENSATION AND REIM BURSEM EN T OF EXPEN SE S
                   TO M ARCUM .RECEIVER'SFORENSIC ACCOUNTANTS
            THIS M ATTER cam e before the Courton the Fourth & FinalApplication forA llowance
     ofCom pensation and Reim bursem entofExpensesto M arcum ,Receiver's Forensic Accotmtants

     (DE 1831 (ssMarcum's Fee Application''),filed on October 12,2012. Having reviewed
     M azcurn'sFee Application and being fully advised in theprem ises,itis:
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           ORDERED andADJUDGED thatM arcum'sFeeApplication(DE 183)isGRANTED.
    The Receiver is granted the authority to pay the fees and costs pursuant to M arcum 's Fee

    Application'.

           D ONE and OR DEQED in cham bers,atPalm Beach Cotmty,Florida,this œ / day of-




                -
                     ,   2012.

                                                         *        *

                                                                      @.

                                             DANIEL T.K .HURLE
                                             UNITED STA TES D1 RICT JUDGE




     Copiesfurnished to:
     Counselofrecord
